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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



  TAYLOR ENERGY COMPANY, LLC                                        CIVIL ACTION
                                                                    NO: 18-14046
  VERSUS
                                                                    c/w 18-14051
                                                                    REF: ALL CASES
  KRISTI M. LUTTRELL, ET AL                                         SECTION: “T” (5)

                          SCHEDULING CONFERENCE NOTICE

       A PRELIMINARY CONFERENCE will be held BY TELEPHONE on
WEDNESDAY, SEPTEMBER 11, 2019, at 10:30 A.M., for purposes of scheduling a pre-trial
conference and trial on the merits and for a discussion of the status and discovery cut-off dates.
At the designated time, counsel are asked to call (877) 873-8018; when prompted enter Access
Code: 8235682 to join a conference call with the Section Case Manager.

        TRIAL COUNSEL are to participate in this conference. A paralegal or secretary may
not be substituted. If, however, you are unable for good cause to do so, another attorney in your
firm may participate if acquainted with all details of the case and authorized to enter into any
necessary agreements. If, for good cause, neither is possible, you must file a Motion and Order
to Continue at least one week prior to the above date.

       If trial counsel are not going to participate in this conference, the Case Manager must
be furnished with the name and telephone number of counsel who will participate in the
conference.

                                                    Issued by:     Dedra D. Pongracz
                                                                   Case Manager
                                                                   (504) 589-7747

                            NOTICE
COUNSEL ADDING NEW PARTIES SUBSEQUENT TO THE MAILING OF THIS
NOTICE SHALL NOTIFY SUCH NEW PARTY TO APPEAR AS REQUIRED BY THIS
NOTICE.

                               NOTICE
COUNSEL ARE TO COMPLY WITH THE DISCOVERY DISCLOSURE
REQUIREMENTS OF F.R.C.P. (26)(a)(1), 26(f) AND LOCAL RULE 26 AND THE
CORPORATE DISCLOSURE REQUIREMENTS OF F.R.C.P. 7.1 COUNSEL ARE TO BE
PREPARED TO ANSWER THE ATTACHED QUESTIONS CONCERNING
DISCLOSURE.
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                IMPORTANT NOTICE TO COUNSEL
COUNSEL MUST PARTICIPATE IN THIS CONFERENCE.                                               A
PARALEGAL OR SECRETARY MAY NOT BE SUBSTITUTED.

COUNSEL WILL BE REQUIRED TO ANSWER THE FOLLOWING
QUESTIONS REGARDING DISCLOSURE AT THE CONFERENCE:

 1. Have all parties completed your Rule 26(a)(1) mandatory initial disclosures?

 2. Have all parties stipulated that initial disclosures under Rule 26(a)(1) will not be
    made in this case?

 3. Do any of the parties object to making Rule 26(a)(1) initial disclosures in this case?

 4. Have the corporate parties filed their corporate disclosure statements?
